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IN THE UNrrED sTATEs DISTRICT coURT gm 1 5 2012

FOR THE NORTHERN DISTSRICT OF ILLINOIS THOMAS G' BRUTON

CLERK, U.S. DOSTR|CT
M. G. S., an adjudicated ’adult-Ward' ) CASE NO.:1:11-cv-07934 couRT

under court-appointed guardianship, by)
Next-Friend(s) ) Honorable ]ohn Tharp
Magistrate ]udge Gilbert

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Plaintiff

CAROLYN TOERPE, Court~Appointed
Guardian; et al.

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Defendant(s) )
NOTICE OF APPEAL TO THE COURT OF APPEALS FROM A ]UDGEMENT OR
ORDER FOR THE UNITED STATES DISTMCT COURT FOR THE NORTHERN
DISTRICT OF ILLINOIS.

NOTICE is hereby given that M.G.S., by ”Next Friends” Sue Fege, Scott Evans,
and Gloria ]ean Sykes, in above named case, hereby appeal1 to the United States Court
of Appeals for the Seventh Circuit from ”Memorandum Opinion and Order" entered on
September 17, 2012 (Document No. 67) by the Honorable ]ohn Tharp, ]udge of the

United States District Court for the Northern Division of Illinois.

Respectfully submitted,

 

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1 A question exists as to whether there is a final order yet in this matter because there is a
“Amended Verilied Complaint to Include Count IV Under 28 U.S.C.§ 2254/2255” (Habeas
Corpus] Which has been left unaddressed by the U. S. District Court.

 

 

 

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing has been served by
operation of the court’s electronic filing system, or in the alternative, via U.S. Mail, or
hand-delivered on or before the 16th of October 2012, addressed to:

 

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